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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                              10/16/20
---------------------------------------------------------------------- X
                                                                       :
David M. Ehrlich & Associates, P.C.,                                   :
                                                                       :
                                    Plaintiff,                         :     20-cv-04170 (AJN)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
Kitao Sakurai,                                                         :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

ALISON J. NATHAN, United States District Judge:

         In light of the COVID-19 public health crisis, the Court will not hold the upcoming initial
pretrial conference in this case in person. Counsel should submit their proposed case
management plan and joint letter seven days prior to the scheduled conference, as directed in the
Court’s Notice of Initial Pretrial Conference. The parties in this case have not yet submitted
their proposed case management plan or their joint letter. The parties must do so no later
than October 20, 2020, and advise the Court if they can do without a conference. If so, the
Court may enter a case management plan and scheduling order and the parties need not appear.
If not, the Court will hold the initial pretrial conference by telephone, albeit perhaps at a different
time than the currently scheduled time. To that end, counsel should indicate in their joint letter
all times on the date of the scheduled conference that they would be available for a telephone
conference. In either case, counsel should review and comply with the Court’s Emergency
Individual Rules and Practices in Light of COVID-19, available at
https://www.nysd.uscourts.gov/hon-alison-j-nathan.

        SO ORDERED.

Dated: October 16, 2020                                    __________________________________
       New York, New York                                           ALISON J. NATHAN
                                                                  United States District Judge
